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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

 v.                                                    Crim. No. 1:21-cr-10104-PBS

 VLADISLAV KLYUSHIN,


 Defendant


             ASSENTED-TO MOTION FOR EXCLUSION OF TIME UNDER
                          THE SPEEDY TRIAL ACT

       The United States of America, by and through Assistant United States Attorneys Seth B.

Kosto and Stephen Frank, respectfully moves this Court to exclude the time period from

February 9, 2022, the date of the initial status conference in this matter, through and including

the date of the parties’ next status conference, March 9, 2022, pursuant to the Speedy Trial Act,

18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv), on the grounds that the ends of justice served

by excluding this period outweigh the best interests of the public and the defendant in a speedy

trial. In support of this request, the government states it produced substantial automatic

discovery on or about February 2, 2022; counsel for the defendant has made several informal

discovery requests and expects to make additional requests in the next two weeks, to which the

government will respond. Thus, the time period from the February 9, 2022 status conference to

the parties’ next status conference on March 9, 2022 is a period of time that constitutes “the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence,” and that the ends of justice served by granting the requested continuance outweigh

the best interests of the public and the defendant in a speedy trial pursuant to the Speedy Trial
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Act, Speedy Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv).



                                                  Respectfully submitted,

                                                  NATHANIEL R. MENDELL
                                                  Acting United States Attorney


                                              By: /s/ Seth B. Kosto
                                                 SETH B. KOSTO
                                                 Assistant United States Attorney

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                            CERTIFICATE OF SERVICE

       I certify that this document was filed on the date listed below through the ECF
system, which will provide electronic notice to counsel as identified on the Notice of
Electronic Filing.

                                              /s/ Seth B. Kosto
                                              SETH B. KOSTO
                                              Assistant United States Attorney

Dated: February 11, 2022
